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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

SWISSDIGITAL USA CO., LTD.,                     §
          Plaintiff,                            §
                                                §       Case No. 6:23-cv-196-ADA
v.                                              §
                                                §       JURY TRIAL DEMANDED
SAMSONITE INTERNATIONAL S.A.                    §
         Defendant.                             §



                        [PROPOSED] AGREED SCHEDULING ORDER


         Deadline                                            Item

    October 6, 2023       Plaintiff serves preliminary1 infringement contentions in the form of a
                          chart setting forth where in the accused product(s) each element of the
                          asserted claim(s) are found. Plaintiff shall also identify the earliest
                          priority date (i.e. the earliest date of invention) for each asserted claim
                          and produce: (1) all documents evidencing conception and reduction
                          to practice for each claimed invention, and (2) a copy of the file
                          history for each patent in suit.
    December 7, 2023      Defendant serves preliminary invalidity contentions in the form of (1)
                          a chart setting forth where in the prior art references each element of
                          the asserted claim(s) are found, (2) an identification of any limitations
                          the Defendant contends are indefinite or lack written description under
                          section 112, and (3) an identification of any claims the Defendant
                          contends are directed to ineligible subject matter under section 101.
                          Defendant shall also produce (1) all prior art referenced in the
                          invalidity contentions, and (2) technical documents, including
                          software where applicable, sufficient to show the operation of the
                          accused product(s).
    December 21, 2023     Parties exchange claim terms for construction.



1
 The parties may amend preliminary infringement contentions and preliminary invalidity
contentions without leave of court so long as counsel certifies that it undertook reasonable efforts
to prepare its preliminary contentions and the amendment is based on material identified after
those preliminary contentions were served and should do so seasonably upon identifying any
such material. Any amendment to add patent claims requires leave of court so that the Court can
address any scheduling issues.

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          Deadline                                           Item

    January 4, 2024        Parties exchange proposed claim constructions.

    January 11, 2024       Parties disclose extrinsic evidence. The parties shall disclose any
                           extrinsic evidence, including the identity of any expert witness they
                           may rely upon with respect to claim construction or indefiniteness.
                           With respect to any expert identified, the parties shall identify the
                           scope of the topics for the witness’s expected testimony.2 With respect
                           to items of extrinsic evidence, the parties shall identify each such item
                           by production number or produce a copy of any such item if not
                           previously produced.
    January 18, 2024       Deadline to meet and confer to narrow terms in dispute and exchange
                           revised list of terms/constructions.


    January 25, 2024       Defendant files Opening claim construction brief, including any
                           arguments that any claim terms are indefinite.
    February 15, 2024      Plaintiff files Responsive claim construction brief.

    February 29, 2024      Defendant files Reply claim construction brief.

    February 29, 2024      Parties to jointly email the law clerks (see OGP at 1) to confirm their
                           Markman date and to notify if any venue or jurisdictional motions
                           remain unripe for resolution.
    March 14, 2024         Plaintiff files a Sur-Reply claim construction brief.

    March 19, 2024         Parties submit Joint Claim Construction Statement and email the law
                           clerks an editable copy.
                           See General Issues Note #7 regarding providing copies of the briefing
                           to the Court and the technical adviser (if appointed).
    March 21, 2024         Parties submit optional technical tutorials to the Court and technical
                           adviser (if appointed).
    March 28, 2024         Markman Hearing at 9:00 a.m. This date is a placeholder and the
                           Court may adjust this date as the Markman hearing approaches.
    March 29, 2024         Fact Discovery opens; deadline to serve Initial Disclosures per Rule
                           26(a).
    (or one business day
    after the Markman
    hearing)


2
 Any party may utilize a rebuttal expert in response to a brief where expert testimony is relied
upon by the other party.

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      Deadline                                          Item

May 9, 2024          Deadline to add parties.

May 23, 2024         Deadline to serve Final Infringement and Invalidity Contentions.
                     After this date, leave of Court is required for any amendment to
                     infringement or invalidity contentions. This deadline does not relieve
                     the parties of their obligation to seasonably amend if new information
                     is identified after initial contentions.
July 18, 2024        Deadline to amend pleadings. A motion is not required unless the
                     amendment adds patents or patent claims. (Note: This includes
                     amendments in response to a 12(c) motion.)
September 26, 2024   Deadline for the first of two meet and confers to discuss significantly
                     narrowing the number of claims asserted and prior art references at
                     issue. Unless the parties agree to the narrowing, they are ordered to
                     contact the Court’s law clerk to arrange a teleconference with the
                     Court to resolve the disputed issues.
October 24, 2024     Close of Fact Discovery.

November 7, 2024     Opening Expert Reports.

December 5, 2024     Rebuttal Expert Reports.

December 19, 2024    Close of Expert Discovery.

December 27, 2024    Deadline for the second of two meet and confers to discuss narrowing
                     the number of claims asserted and prior art references at issue to
                     triable limits. To the extent it helps the parties determine these limits,
                     the parties are encouraged to contact the Court’s Law Clerk for an
                     estimate of the amount of trial time anticipated per side. The parties
                     shall file a Joint Report within 5 business days regarding the results of
                     the meet and confer.
January 9, 2025      Dispositive motion deadline and Daubert motion deadline.
                     See General Issues Note #7 regarding providing copies of the briefing
                     to the Court and the technical adviser (if appointed).
February 6, 2025     Serve Pretrial Disclosures (jury instructions, exhibits lists, witness
                     lists, deposition designations).
February 20, 2025    Serve objections to pretrial disclosures/rebuttal disclosures.
February 27, 2025    Serve objections to rebuttal disclosures; file Motions in limine.
March 13, 2025       File Joint Pretrial Order and Pretrial Submissions (jury instructions,
                     exhibits lists, witness lists, deposition designations); file oppositions
                     to motions in limine


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          Deadline                                        Item

    March 20, 2025      File Notice of Request for Daily Transcript or Real Time Reporting. If
                        a daily transcript or real time reporting of court proceedings is
                        requested for trial, the party or parties making said request shall file a
                        notice with the Court and e-mail the Court Reporter, Kristie Davis at
                        kmdaviscsr@yahoo.com
    March 20, 2025      Deadline to file replies to motions in limine

    March 27, 2025      Deadline to meet and confer regarding remaining objections and
                        disputes on motions in limine.
    March 31, 2025      Parties to jointly email the Court’s law clerk (See OGP at 1) to confirm
                        their pretrial conference and trial dates.
    April 2, 2025       File joint notice identifying remaining objections to pretrial
                        disclosures and disputes on motions in limine.

    April 7, 2025       Final Pretrial Conference. Held in person unless otherwise requested.

    April 28, 20253     Jury Selection/Trial.




SIGNED this ____ day of _________________________, 2023.




                                            ALAN D ALBRIGHT
                                            UNITED STATES DISTRICT JUDGE




3
 If the actual trial date materially differs from the Court’s default schedule, the Court will
consider reasonable amendments to the case schedule post-Markman that are consistent with the
Court’s default deadlines in light of the actual trial date.

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